




 










&nbsp;

IN THE

TENTH COURT OF APPEALS

&nbsp;




 
  
 
 
  
  
 


&nbsp;

&nbsp;



No. 10-09-00190-CV

&nbsp;

In
re Nancy Baker and Mike Everett

&nbsp;as
the Parents of A.E., a Child

&nbsp;

&nbsp;



Original Proceeding

&nbsp;

&nbsp;



MEMORANDUM Opinion



&nbsp;

The petition for writ of mandamus is
dismissed as moot.

&nbsp;

&nbsp;

REX D. DAVIS

Justice

&nbsp;

Before
Chief Justice Gray,

Justice Reyna, and

Justice Davis

Petition
dismissed

Opinion
delivered and filed September 9, 2009

[OT06]








&nbsp;





